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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
      KIM SIFLINGER, individually and on Case No.: 2:20-cv-07783-FMO-PVC
12    behalf of all others similarly situated,
13                                             ORDER ON STIPULATION [21]
                           Plaintiff,          GRANTING DISMISSAL WITH
14                                             PREJUDICE
            v.
15
      KEURIG DR PEPPER INC., and
16
      MOTT’S LLP, d/b/a ReaLemon and
17    ReaLime
18
                       Defendant.
19
20
21         The Court, having duly considered the Request for Dismissal submitted by the

22   parties, through their counsel, hereby orders that this case be dismissed.

23   IT IS SO ORDERED.
24
     Dated: October 19, 2020                                /s/ Fernando M. Olguin
25
                                                            U.S. District Judge
26
27
                                                   1                  Case No.: 2:20-cv-07783
28
           ORDER GRANTING DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULES OF CIVIL
                                       PROCEDURE 41(A)
